   Case 4:17-cv-00962-A Document 61 Filed 10/11/18                   Page 1 of
                                                                            US20DISTRICT
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                                                                                         COURT
                                                                       NORTIIBRN DISTRICT OF TEXAS
                                                                                     FILED
                        IN THE UNITED STATES DISTRICT COUR
                             NORTHERN DISTRICT OF TEXA
                                 FORT WORTH DIVISION
                                                                                   OCT 1 1 2018

UNIVERSITY BAPTIST CHURCH                          §                       CLERK, U.S. DlSTRlCT COURT
OF FORT WORTH,                                     §                         BY--..,,,-----
                                                                                        Deputy
                                                   §
                Plaintiff,                         §
                                                   §
vs.                                                §   NO. 4:17-CV-962-A
                                                   §
LEXINGTON INSURANCE COMPANY,                       §
                                                   §
                Defendant.                         §

                                     MEMORANDUM OPINION
                                             and
                                            ORDER

        Came on for consideration in the above-captioned action the

motion for summary judgment filed by defendant, Lexington

Insurance Company ("Lexington"). The court, having considered the

motion, the response of plaintiff, University Baptist Church of

Fort Worth ("Church"), Lexington's reply, the entire record, and

the applicable legal authorities, finds that the motion should be

granted.

                                                  I.

                                           Background

       The operative pleading is Plaintiff's Amended Complaint

("Complaint")         filed February 8, 2018. Doc. 19. 1                     Church's claims

arise out of a dispute between Church and Lexington related to

hail and windstorm damage to Church's church buildings.                                   When the


       'The "Doc._" references are to the number assigned to the referenced items on the docket in this
Case No. 4: J7-CV-962-A.
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 2 of 20 PageID 1099


Complaint was filed,     there was a second defendant, York Risk

Services Group,   Inc.   ("York"), the independent adjusting firm

that worked with Church and its roofing contractor in defining

the needed repairs.      York filed a motion to dismiss for failure

to state a claim upon which relief may be granted.          Its motion

was granted, and a final judgment dismissing Church's claims

against York was issued May 16, 2018.       See Docs. 31 & 32.      The

factual recitations contained in the Complaint, doc. 19 at 2-7,

, , 5-37, are summarized in an abbreviated form under the heading

"Plaintiff's Amended Complaint" on pages 2-6 of the Amended

Memorandum Opinion and Order explaining the court's reasons for

dismissing Church's claims against York, doc. 32 at 2-6.           For

convenience, the court adopts, and here incorporates by

reference, that summarization inasmuch as the allegations were

the factual bases of Church's claims against Lexington as well as

those against York.

     As that summarization makes apparent, Lexington was the

insurance company that issued the insurance policy that provided

insurance coverage for the hail and windstorm damage Church's

church buildings suffered on March 17, 2016.         Church's claims

against Lexington are not, except in a minor respect, based on

any contention that Lexington did not satisfy the obligations

imposed on it by the insurance policy it issued to Church, but,


                                    2
   Case 4:17-cv-00962-A Document 61 Filed 10/11/18                       Page 3 of 20 PageID 1100


instead, with that one exception, are exclusively extra-

contractual claims.

        The only exception is the allegation in paragraph 35, on

pages 6-7 of the Complaint, that Lexington was responsible for

use of Verea 2 tile in the re-roofing of Church's church buildings

instead of the Ludowici tile that was on the buildings when the

roof was damaged.                Doc. 19 at 6-7,           ~   35.    Church alleged that

Verea is of lesser quality than Ludowici, and is not as durable

as Ludowici, and that by causing the Verea tile to be used,

Lexington breached the provision of the policy that required it

to pay "the cost to repair, replace and rebuild the property with

material of like kind and quality."                            Id.

        Church has rather lengthy allegations in the Complaint under

the heading "Breach of Contract-Lexington," but the summary

judgment record, including the briefs filed by the parties, make

clear that those allegations actually are related to Church's

extra-contractual claims and do not describe a claim of breach of

contract by Lexington.

        The summary judgment record discloses that the events that

led to Church's extra-contractual claims were set in motion by

the making of a gross underestimate by Jeff Eubank Roofing Co.,


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            In some of the summary judgment paperwork, the alternative tile is sometimes referred to as
"Verea" and so1neti1ncs as "Versa." 1'he court uses in this 1ne1norandu1n opinion whichever na1ne was
used in the particular document the court is discussing or from which it quotes.

                                                      3
   Case 4:17-cv-00962-A Document 61 Filed 10/11/18                    Page 4 of 20 PageID 1101


Inc.    ("Eubank") , the roofing contractor selected and hired by

Church, of the cost of labor and material that would be required

to do the extra work during the roof repair needed to satisfy law

and ordinance requirements. 3                  This is a subject to which the

court will return.              The policy had a limit of $250,000 for work

of that kind.           Doc. 45 at App. 013, 015.                  Were it not for the

Ordinance or Law Amendatory Endorsement in the insurance policy,

the insurance policy would not have provided any benefits to

Church for increased costs attributable to enforcement of any

ordinance or law regulating the construction, use or repair of

the property.           Id. at App. 052,           §   4.b.

        The parties are in agreement, and the record establishes,

id. at App. 288, that Lexington paid Church the policy limit of

$250,000 for the code upgrade work, and that, except for the

Verea vs. Ludowici issue, Lexington complied with all of its

policy obligations.               Lexington paid Church a total of $852,149.52

for repair of church buildings in satisfaction of its insurance

policy payment obligations as to those buildings.                                 Id. at App.

006,    ~   11.




         "'Code upgrade" and "law and ordinance" are used interchangeably by the parties in this
litigation, and the court will do the same. Law and ordinance is the term used for code compliance work
in Lexington's Commercial Line Policy, doc. 45 at App. 036-37, while code upgrade is the term used to
refer to the same thing in most of the communications between the pmties that do not reference the
specific language of the policy.

                                                   4
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 5 of 20 PageID 1102


     Church is using the events that followed Eubank's

underestimate of the cost of doing the code upgrade work as

predicates for its extra-contractual claims.         By doing so, Church

attempts to shift the significant extra cost resulting from that

underestimate from the Church and/or Eubank to Lexington.

                                   II.

                Lexington's Summary Judgment Motion

     Lexington seeks summary judgment as to Church's breach of

contract claims for the reasons that there is no evidence in the

summary judgment record that it breached any obligation it had

under the policy contract, and the summary judgment record

establishes as a matter of law that it performed its policy

contractual obligations.

     Summary judgment is sought by Lexington as to Church's

extra-contractual claims (claims under chapters 541 and 542 of

the Texas Insurance Code, for alleged breach of the duty of good

faith and fair dealing, and alleged violations of the Texas

Deceptive Trade Practices-Consumer Protection Act         ("DTPA")) for

the reason that there is no summary judgment evidence that would

support a finding of the existence of all of the essential

elements of any of those theories of recovery.




                                    5
     Case 4:17-cv-00962-A Document 61 Filed 10/11/18      Page 6 of 20 PageID 1103


                                             III.

                                           Analysis

A.      Pertinent Summary Judgment Principles

       Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.                 Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247

(1986).      The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material

fact.      Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,                "since a complete failure of proof

concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."                 Id. at 323.

       Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.      Id. at 324; see also Fed. R. Civ. P. 56(c)            ("A party

asserting that a fact                      is genuinely disputed must support

the assertion by                      citing to particular parts of materials in

the record .           '   II )   •   If the evidence identified could not lead

                                               6
   Case 4:17-cv-00962-A Document 61 Filed 10/11/18                    Page 7 of 20 PageID 1104


a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.          Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597 (1986).                     In Mississippi Prat. & Advocacy

Sys. v. Cotten, the Fifth Circuit explained:

        Where the record, including affidavits,
        interrogatories, admissions, and depositions could not,
        as a whole, lead a rational trier of fact to find for
        the nonmoving party, there is no issue for trial.

929 F.2d 1054, 1058 (5th Cir. 1991).

        The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law.'          Celotex Corp., 477 U.S. at 323.                 If the record taken as a

whole could not lead a rational trier of fact to find for the

nonmoving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prat. &

Advocacy Sys., 929 F.2d at 1058.




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        ' In Boeing Co. v. Shipman, 411F.2d365, 374-75 (5th Cir. 1969) (en bane), the Fifth Circuit
explained the standard to be applied in determining whether the court should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict by saying:
         If the facts and inferences point so strongly and overwhelmingly in favor of one party
         that the Court believes that reasonable men could not arrive at a contrary verdict,
         granting of the motions is proper. On the other hand, ifthere is substantial evidence
         opposed to the motions, that is, evidence of such quality and weight that reasonable and
         fair-minded men in the exercise of impmtial judgment might reach different conclusions,
         the motions should be denied, and the case submitted to the jury. A mere scintilla of
         evidence is insufficient to present a question for the jury.

                                                   7
     Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 8 of 20 PageID 1105


B.      The Breach of Contract Claim

        Church bases its breach of contract claim on statements made

by Allen Seymour ("Seymour"), an account manager for Eubank, in

his affidavit as follows:

             5.   [Eubank] was hired as the roofing contractor
        for University Baptist Church ("UBC") for storm damages
        to their property at 2720 Wabash, Fort Worth, Texas
        (the "Property") .

             6.   Our original proposal was to complete the
        Project for the price of $651,891.40.  See Exhibit A-1
        attached hereto. However, the adjuster for York Risk
        Services Group, Kevin Forman ("Forman"), would not
        approve the tile that was of like kind and quality to
        the original tile.  The like kind and quality roof tile
        was a Ludowici product which was included in our
        original estimate. Therefore, I had to use an inferior
        tile product (Verea tile) to bring the project in line
        with the price Forman would approve even though the
        product of was inferior quality.

Doc. 54 at App. 0004-5, , , 5-6.            But, Seymour did not tell the

entire story.       If the roof damage had been repaired with Ludowici

tiles, as Seymour suggested, the work would have gone as expert

Brett A. Lockridge ("Lockridge") described in his unchallenged

declaration as follows:

             13. The like, kind and quality repair to the roof
        of the church following the storm [would be] to remove
        and relay tiles on the damaged portion of the roof, and
        any quantity deficiency could be made up from matching
        tile from salvage yards or by replacing a smaller roof
        facet with completely new, but matching clay roof
        tiles.

Doc. 45 at App. 128, , 13.         Considering that the roof repair

work, as actually done, consisted of the replacement of all tiles

                                        8
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 9 of 20 PageID 1106


with entirely new clay tiles of the Versa brand, Lockridge added

in his declaration that:

           14. The church received better than a like, kind
     and quality repair to its roof when it received a
     replacement roof with new Versa brand clay tile.

Id., , 14.   Lockridge's explanation undoubtedly is why Church has

provided no evidence of any damage suffered by it by reason of

use of the new Versa tiles instead of the used Ludowici tiles.

The absence of evidence of damages is, standing alone, fatal to

Church's breach of contract claim, bearing in mind that proof of

damages is an essential element of such a claim.

Intercontinental Grp. P'ship v. KB Home Lone Star L.P., 295

S.W.3d 650, 655 & n.26    (Tex. 2009).

     In addition, the breach of contract claim is also shown to

be without merit by the summary judgment evidence that Eubank

chose to give its estimate/bid with the Verea tile replacement

feature rather than the Ludowici tile repair feature in order to

successfully compete with estimates/bids by competing roofers.

Doc. 45 at App. 126, , , 7 & 8.     Thus, Lexington can hardly be

held accountable for the decision to use Verea tile.          By

accepting the work contemplated by Eubank's Verea bid, Church

itself made the choice to use Verea rather than Ludowici.           Doc.

45 at App. 277-78.




                                    9
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 10 of 20 PageID 1107


        Therefore, for more than one reason, summary judgment should

be granted on Church's sole breach of contract claim.

C.      The Extra-Contractual Claims

        The bases for all of Church's extra-contractual claims

against Lexington are the events related to Eubank's inadequate

$285,000 proposal to do the code upgrade work, and the conduct of

York, acting through its employee Forman, related to that

proposal.     Therefore, the court is commencing the discussion

relative to those claims by discussing the summary judgment

bearing on those events.

        On November 22, 2016, Eubank addressed to Church its

"Proposal" related to the code upgrade work.          Doc. 54 at App.

0031.     The Proposal starts with the statement "[p]er your request

we respectfully submit the following scopes of work                  "

following which is a listing of eight types of work to be done to

"Retrofit Deck System," which is followed by the statement "[w]e

will complete the above scope of work for the sum of

$285,798.00."     Id.

        The Proposal was signed by Seymour, the account manager for

Eubank, who played a role in preparation of the Proposal.            His

role was such, Seymour later told Forman, that if it turned out

that Eubank had been required to do the code upgrade work for the

$285,798.00 figure used in the Proposal, Seymour would have lost


                                    10
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 11 of 20 PageID 1108


his job.     Id. at App. 0061 (dep. p. 105).       With respect to that

conversation, Forman testified as follows:

             Allen [Seymour] said, "It's a good thing that we
        didn't go with the original proposal because I would've
        lost my job." And then I asked them to clarify what
        else was going on. And he said, "Well, these costs are
        being monitored." This is what we're running into.
        It's requiring a tremendous amount of labor.  There's
        some additional issues that have raised their head as
        far as things that we're having to address on this roof
        that we weren't expecting to have to address.



        Eubank continued to do the code upgrade work at a total cost

to Church of $864,148.49, which exceeded the $285,798.00 proposal

by $578,350.49.        Doc. 54 at App. 0037, , 19.       Church's attempt to

cause Lexington to pay that difference is based on the conduct of

Forman.    When he learned of the $285,000 proposal of Eubank to do

the code upgrade work, he was concerned that the proposal was not

necessarily accurate.        Id. at App. 0064 (dep. p. 129).       He was

not comfortable with how the proposal was being calculated.                Id.

His recommendation to cause the work to be done on a time and

materials basis was to try to determine an accurate cost for the

work.     Id. at App. 0065 (dep. p. 131).     They knew that there

might be some things that they would run into that nobody

anticipated.     Id.     Church was aware that there was an agreement

to proceed on a time and materials basis.          Id.    (dep. p. 132).




                                     11
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 12 of 20 PageID 1109


     The summary judgment record shows that the code upgrade work

was completed by Eubank.     Doc. 45 at App. 275.       There is no

indication in the record that Church was required to pay more

than the work was worth to Church, nor is there any indication in

the summary judgment record that Church would not have caused the

work to have been done even if it had known from the outset that

the cost of the work would end up being what it actually was.

Nor is there any indication in the summary judgment record that

any conduct of York or Forman caused the cost to be greater than

it should have been, and actually was, for performance of the

code upgrade work.

     Turning now to Church's extra-contractual claims.           None of

them survives Lexington's motion for summary judgment.

     1.   Church's Duty of Good Faith and Fair Dealing Claim

     Although the heading on page 8 of Church's responsive brief

suggests that Church is to make an argument in support of its

common law duty of good faith and fair dealing claim, doc. 53 at

8, the court is unable to find anything in the brief that can be

identified as argument or authority in support of such a claim

unless it is found in the general statements in paragraph 44 on

page 9 pertaining to Eubank's inadequate $285,000 proposal for

doing that work and the decision that was made to do the work on

a time and materials basis, id. at 9, , 44.


                                    12
  Case 4:17-cv-00962-A Document 61 Filed 10/11/18                   Page 13 of 20 PageID 1110


        There simply is no basis in the summary judgment record for

an argument in support of a claim for violation of a duty of good

faith and fair dealing.                While Texas law imposes such a duty on

an insurer,        "there is no duty beyond the contract itself."

Higginbotham v. State Farm Mut. Auto. Ins. Co., 103 F.3d 456, 460

(5th Cir. 1997) . 5          Put another way, absent a breach of the policy

contract, there is no violation of the insurer's duty to act in

good faith and deal fairly with the insured.

        The summary judgment record establishes without dispute that

there was no violation of the insurance policy issued by

Lexington related to the code upgrade work.                            The policy contract

said that Lexington would pay up to $250,000 for that work, and

there is no contention by Church that it did not receive that

payment.

       Moreover, the summary judgment record does not contain any

evidence that Church suffered any damages related to the conduct

of Forman pertaining to the cost of the code upgrade work.

Without regard to Forman's conduct, Church was required to have

that work done, and there is no suggestion in the summary

judgment record that Church paid Eubank more than it should have


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         ln Higginbotham, the Fifth Circuit also noted that "Texas law does not recognize a cause of
action for negligent claims handling." Higginbotham v. State Farm Mut. Auto. Ins. Co., 103 F.3d 456,
460 (5th Cir. 1997).




                                                  13
  Case 4:17-cv-00962-A Document 61 Filed 10/11/18                     Page 14 of 20 PageID 1111


paid for having the work done.                      The fact that Church did not buy

enough insurance to cover the total cost of the work is not a

reason for causing Lexington at this time to bear more than its

$250,000 policy limit for that work.

        2.      Texas Insurance Code Claims

        Church alleged in the Complaint that Lexington violated

three parts of section 541.060 of the Texas Insurance Code.

Doc. 19 at 10, ,, 53-56. 6                 The first provision is section

541. 060 (a) (2), which Church asserts Lexington violated by failing

to attempt in good faith to effectuate a prompt, fair and

equitable settlement when Lexington's liability was clear. The

second is section 541. 060 (a) (3), which, according to Church, was

violated when Lexington failed to promptly provide Church with a

reasonable explanation of the basis in the policy, for

Lexington's denial of its claim. And the third is section

541.060(a) (7), which Church alleges was violated when Lexington

refused to pay Church's claim without conducting a reasonable



        'Church's response to Lexington's motion for summary judgment asserts a new alleged violation
of the Texas Insurance Code under section 541.060(a)(I), doc. 53 at 11, but this alleged violation was not
asse1ted in the Complaint. Therefore, the court will not consider Church's arguments as to that provision.
However, the court will note that, under Texas law, "post loss statements regarding coverage are not
misrepresentations under the Insurance Code," and thus this claim would likely fail even if it had been
properly raised by Church. Aguilar v. State Farm Lloyds, 4: l 5-CV-565-A, 2015 WL 5714654, at *3
(N.D. Tex. Sept. 28, 20l5)(citing Texas Mut. Ins. Co. v. Ruttiger, 381S.W.3d430, 445-56 (Tex. 2012));
One Way Invs., Inc. v. Century Sur. Co., No. 3: 14-CV-2839-D, 2014 WL 6991277, *4-5 (N.D. Tex.
Dec. 11, 2014).




                                                   14
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 15 of 20 PageID 1112


investigation. All three of Church's claims under the Texas

Insurance Code fail as a matter of law.

     In order for the court to find that a section 541.060(a) (2)

violation took place, there must be (1) clear liability on the

part of Lexington, and (2) failure by Lexington to offer a

prompt, fair, and equitable settlement. Church has adduced no

summary judgment evidence to support either of the elements

required to show such a violation.       It asks the court to make

inferences not supported by the record. Church's insurance policy

required Lexington to pay Church after costs had been incurred by

Church, and Lexington did just that. There were no need for a

settlement because the Lexington timely paid Church the full

amount it was entitled to under the policy--$250,000.

     Lexington did not violate section 541.060(a) (3) either.

That section requires that an insurer provide a policyholder a

reasonable explanation of the basis in the policy for the

insurer's denial of a claim. Here, Church and its insurance agent

knew of the policy sublimit for code upgrade work.           Doc. 45 at

App. 273-74; App. 331-34.     Thus, Lexington was not required to

inform Church of its policy limit as an explanation for why it

was not paying more than $250,000 for the code upgrade work.

Moreover, the policy itself disclosed that limit.          See Morris




                                    15
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 16 of 20 PageID 1113


County Nat. Bank v. John Deere Ins. Co., 254 F.3d 538, 541 (5th

Cir. 2001)   (An insured party is deemed to know the contents of

its insurance policy.). Further, as has already been pointed out,

there was no denial of claim, as Lexington paid out the full

amount owed to Church under its policy.

     Finally, Church's claim under section 541.060(a) (7) fails

for substantially the same reasons articulated above. A claim

under that section requires     (1) that the insurer refuse to pay a

claim and (2) that it do so without conducting a reasonable

investigation. Lexington paid the claim, and did so after a

thorough investigation by York.

     Finally, Church has not produced any evidence that it

suffered actual damages as a result of any alleged Insurance Code

violation.   There can be no recovery for extra-contractual

damages for mishandling claims unless the insured establishes

that it suffered damages by reason of the mishandling.           See USAA

Texas Lloyds Co. v. Menchaca, 545 S.W.3d 479, 500 (Tex. 2018).

In other words, the manner in which the claim was investigated or

handled must be the cause of damages to the insured.           See

Provident Am. Ins. Co. v. Castaneda, 988 S.W.2d 189, 198-99 (Tex.

1998).   Moreover, there is no basis in the summary judgment

record for a finding that Lexington withheld any benefits to




                                    16
  Case 4:17-cv-00962-A Document 61 Filed 10/11/18                   Page 17 of 20 PageID 1114


which Church was entitled under the insurance policy, thus

eliminating any possible area of recovery by Church from

Lexington under any extra-contractual liability.

       For the above-stated reasons, all of Church's claims under

the Texas Insurance Code fail as a matter of law.

       3.      Deceptive Trade Practices Act Claims

       The DPTA provides recourse to consumers who are victims of

"[f]alse, misleading, or deceptive acts or practices in the

conduct of any trade or commerce" to recover for such clams.

Tex. Bus. & Com. Code§ 17.46(a).                       The elements of a DTPA claim

are:   "(1) the plaintiff is a consumer;                      (2) the defendant engaged

in false, misleading, or deceptive acts; and (3) these acts

constituted a producing cause of the consumer's damages".                             Hugh

Symons Group, plc v. Motorola, Inc., 292 F.3d 466, 468                             (5th Cir.

2002).      Claims under the DTPA are subject to the heightened

pleading requirements of Rule 9(b).                       Berry v. Indianapolis Life

Ins. Co., 608 F. Supp. 2d 785, 800                     (N.D. Tex. Mar. 11, 2009)

       Church specifically alleged that Lexington violated

§ § 1 7 . 4 6 ( b) ( 7 ) , 1 7 . 4 6 (b) ( 12 ) , and § 1 7 . 5 O (a) ( 4 ) by :

       a.      Representing that York's services were of a
               particular standard, quality, or grade, when they
               were of another.

       b       Representing that an agreement confers or involves
               rights, remedies, or obligations which it does not
               have or involve.



                                                 17
 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 18 of 20 PageID 1115


     c.    Employing an act or practice in violation of the
           Texas Insurance Code, Chapter 541, as more
           specifically enumerated in Section VII of
           Plaintiff's Amended Complaint.

Doc. 19 at 12, , , 71-73.    The court earlier dismissed Church's

DTPA claims against York because Church failed to point to the

specific factual allegations supporting its claims, and stated

that the statements made by Foreman were not misrepresentations

under the Texas Insurance Code. Doc. 17 at 14-15. Despite having

two opportunities to point to the specific factual allegations

supporting its DTPA claims under §17.46(7) in its amended

complaint and response to summary judgment, Church still fails to

do so. Church has not identified the "who, what, when, where and

how" of Lexington's purported violation under §17.46(7). Dorsey

v. Portfolio Equities, Inc., 540 F.3d 333, 339         (5th Cir. 2008).

Because of this, the court finds that Church's §17.46(b) (7) DTPA

claim fails to state a claim against Lexington.

     Church's latter two DTPA claims arguably also fail the

Dorsey test, but because Church at least addressed them in its

response to Lexington's motion for summary judgment, the court

will consider them on their merits. Church alleges that Lexington

or its agents represented to Church that its insurance policy

confers or involves rights, remedies, or obligations which it

does not have or involve, in violation of §17.46(b) (12) of the




                                    18
  Case 4:17-cv-00962-A Document 61 Filed 10/11/18                      Page 19 of 20 PageID 1116


DTPA. The record does not reflect that Lexington did so, and

Church has not identified misrepresentations upon which its claim

for relief can be granted. Even if this court does Church's work

for it and tries to identify the statements that Church believes

provide a basis for its DTPA claim under §17.46(b) (12), none rise

to the level of a DTPA violation. As made clear by testimony from

both Foreman and Kathy Raines, Foreman was clear at all times

with Church that he did not make coverage decisions. Doc. 45 at

297, 336-337. His emails, though unclear at times, do not

contradict this position.'

        Finally, as the court has found that Lexington did not

violate the Texas Insurance Code, its §17.50(a) (4) claim

necessarily fails.

        4.      Benefits-Lost and Independent-Injury Rules

        For the reasons already discussed, neither the Benefits-Lost

Rule nor the Independent-Injury Rule of USAA Texas Lloyds Co.,

545 S.W.3d at 497, 499, applies to the claims made by Church in

this action.           The summary judgment record establishes



        7
         Also worth noting is that the single case cited by Chnrch in support of its position, Royal Globe
Ins. Co. v. Bar Consultants, Inc., 577 S.W.2d 688, 694 (Tex. 1979), is a case decided under the former
DTPA statute, where a plaintiff had to only prove that she was "adversely affected" by the
misrepresentation, and not that the misrepresentation was a "producing cause" of her damages. Given the
policy's unambiguous sub limit for Ordinance and Law work, it is at least unclear that a misrepresentation
by Foreman would be a prnducing cause ofChnrch's damages. Regardless, the court need not rule on this
issue since it has found that Foreman and Lexington made no representations that rise to the level of a
§17.46(b)(l2) DTPA violation.


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 Case 4:17-cv-00962-A Document 61 Filed 10/11/18   Page 20 of 20 PageID 1117


conclusively that Lexington satisfied all its policy payment

obligations to Church; and, there is no summary judgment evidence

that any conduct of the independent adjuster, York, caused any

injury to Church by reason of any conduct about which Church has

complained.

                                    v.
                                  Order

     The court ORDERS that the motion of Lexington be, and is

hereby, granted, and that Church's claims be, and are hereby,

dismissed.

     SIGNED October 11, 2018.




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